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Amherst
Grand Island . 6 Clarence Newstead
Tonawanda EWES,
HAS 4
Tonawanda
ERIE COUNTY
LEGISLATIVE DISTRICTS
Proposed by: Lancaster Alden
Adam W. Perry, Chairman
Advisory Committee on Reapportionment
May 6, 2011
West Seneca
he Elma Marilla
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Orchard Park
Aurora Wales
Hamburg
Eden Boston Colden Holland
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Sa els a ~ North Collins i
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Concord

oO Legislative Districts

Collins :

